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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS



Civil Action
No: 1:20-cv-11469-LTS

                           WALSH CONSTRUCTION COMPANY
                                     Plaintiff

                                                v.



                       LEXINGTON INSURANCE COMPANY, ET.AL
                                    Defendants

                                         January 5, 2021

    45-DAY SETTLEMENT ORDER OF DISMISSAL & CLOSING ORDER

SOROKIN, J.

       The Court having been advised that the above captioned action settled:

       It is hereby ORDERED that this action is hereby dismissed without costs and without

prejudice to the right of any party, upon good cause shown, to reopen the action within 45 days if

settlement is not consummated.



                                                            By the Court,


                                                            /s/ Mariliz Montes
                                                            Deputy Clerk
                                                            The Honorable Leo T. Sorokin



To: All Counsel
